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     JOHN R. MANNING (SBN 220874)
 1   ATTORNEY AT LAW
 2
     1111 H Street, # 204
     Sacramento, CA. 95814
 3   (916) 444-3994
     Fax (916) 447-0931
 4
     Attorney for Defendant
 5
     MANUEL HERRERA
 6
                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
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 8

     UNITED STATES OF AMERICA,                       )       No. CR-S-11-296-WBS
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                                                     )
                                                     )
10           Plaintiff,                              )       STIPULATION AND [PROPOSED]
                                                     )       ORDER CONTINUING STATUS
11
     v.                                              )       CONFERENCE
                                                     )
12
     MANUEL HERRERA,                                 )
                                                     )       Date: December 3, 2018
13   SANDRA HERMOSILLO,                              )       Time: 9:00 a.m.
     MOCTEZUMA TOVAR, and                            )       Judge: WILLIAM B. SHUBB
14
     JUN MICAHEL DIRAIN,                             )
                                                     )
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                                                     )
             Defendants.
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             The United States of America through its undersigned counsel, Brian Fogerty, Assistant
20
     United States Attorney, together with counsel for defendant Moctezuma Tovar, Thomas A.
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     Johnson, Esq., counsel for defendant Sandra Hermosillo, Erin J. Radekin, Esq., counsel for
22
     defendant Jun Michael Dirain, Timothy Zindel, Esq., and counsel for defendant Manuel Herrera,
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     John R. Manning, Esq., hereby stipulate the following:
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     1. By previous order, this matter was set for a status conference on October 1, 2018.
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     2. By this stipulation the defendants now move to continue the status conference to December 3,
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     2018.
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     3. The parties agree and stipulate, and request the Court find the following:
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           a. On August 20, 2018 the Ninth Circuit denied defendants Jaime Mayorga and Ruben
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 2             Rodriguez’s interlocutory appeal from the district court’s denial of their motion to

 3             dismiss the indictment on double jeopardy grounds (ECF #776). Co-defendants
 4
               Ruben Rodriguez and Jaime Mayorga are awaiting a ruling in the Ninth Circuit on
 5
               their petition for rehearing which will determine whether there will be a third trial.
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           b. It is anticipated some of the defendants will testify if there is a third trial and therefore

 8             the parties believe scheduling a status conference on December 3, 2018 is
 9             appropriate.
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           c. The government does not object to the continuance.
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        IT IS SO STIPULATED.
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13   Dated: September 25, 2018                                     /s/ John R. Manning
                                                                   JOHN R. MANNING
14                                                                 Attorney for Defendant
                                                                   Manuel Herrera
15

16   Dated: September 25, 2018                                     /s/ Thomas A. Johnson
                                                                   THOMAS A. JOHNSON
17                                                                 Attorney for Defendant
                                                                   Moctezuma Tovar
18

19   Dated: September 25, 2018                                     /s/ Erin J. Radekin
                                                                   ERIN J. RADEKIN
20                                                                 Attorney for Defendant
                                                                   Sandra Hermosillo
21

22   Dated: September 25, 2018                                     /s/ Timothy Zindel
                                                                   TIMOTHY ZINDEL
23                                                                 Attorney for Defendant
24
                                                                   Jun Michael Dirain

25   Dated: September 25, 2018                                     McGregor W. Scott
                                                                   United States Attorney
26

27
                                                           by:     /s/ Brian A. Fogerty
                                                                   BRIAN A. FOGERTY
28                                                                 Assistant U.S. Attorney


                                                      2
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 2                                     ORDER
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           IT IS SO FOUND AND ORDERED.
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     Dated: September 26, 2018
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